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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Alexandria Division

  UNITED STATES, et al.,                        )
                                                )
                         Plaintiffs,            )
         v.                                     )       No. 1:23-cv-00108-LMB-JFA
                                                )
  GOOGLE LLC,                                   )
                                                )
                         Defendant.             )

                     PLAINTIFFS’ REPLY IN SUPPORT OF
     PLAINTIFFS’ MOTION TO EXCLUDE TESTIMONY OF ANTHONY FERRANTE

         Google attempts to use Mr. Ferrante as a mouthpiece for testimony about an abstract set

  of “security concerns” that Google suggests will somehow serve as procompetitive justifications

  for its years-long scheme to suppress competition in the markets for digital advertising

  technology. That effort should fail. Mr. Ferrante’s generic opinions about cybersecurity are

  inadmissible because they are (a) not tied to any contested factual or legal question in the case;

  (b) not based on reliable principles or methods; and (c) based in part on “field tests” the non-

  disclosure of which prejudiced Plaintiffs’ efforts to scrutinize Mr. Ferrante’s opinions during

  discovery.

         Google makes sweeping assertions about the “critical” and “central” importance of

  cybersecurity to this case but Mr. Ferrante’s opinions do not address, much less provide

  procompetitive justifications for, any of the behavior Plaintiffs allege is unlawful. Because the

  only proffered relevance of Mr. Ferrante’s opinions is to justify Google’s anticompetitive

  conduct, the fact that Mr. Ferrante does not address that conduct anywhere in his report is alone

  sufficient to exclude his opinions. His opinions lack any proper evidentiary purpose, and they
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  will not assist the trier of fact in determining whether the conduct alleged in the Amended

  Complaint violated the Sherman Act.

         Furthermore, experts such as Mr. Ferrante who purport to base their opinions on

  experience are not excused from the basic requirement of Rule 702 to reach their opinions based

  on reliable principles and methods. This is for good reason because, otherwise, the opinions of

  experiential experts would devolve into an inscrutable black box, “connected to [the facts] only

  by the ipse dixit of the expert.” General Elec. Co. v. Joiner, 522 U.S. 136, 146 (1997). Even

  experiential experts must “explain how [their] experience leads to the conclusion reached, why

  [their] experience is a sufficient basis for the opinion, and how [their] experience is reliably

  applied to the facts.” United States v. Wilson, 484 F.3d 267, 274 (4th Cir. 2007) (quoting Fed. R.

  Evid. 702 advisory committee’s note to (2000) amendments). The disclosures Mr. Ferrante made

  in his report and deposition collectively fail to meet these basic requirements, and Google’s

  opposition brief does not show otherwise. Indeed, Google proposes to rewrite Rule 702,

  contending that “[a]n expert does not need a methodology—beyond his experience—for his

  opinions to be admissible.” Def.’s Opp. Mot. to Exclude Anthony Ferrante (“Opp.”) 17, ECF No.

  637. Although such a foundational change to the rules of evidence may suit Mr. Ferrante’s take-

  my-word-for-it approach, it is not the law, and his failure to explain how his experience led him

  to his conclusions is fatal to the admissibility of his testimony.

         Finally, Google does not dispute that Mr. Ferrante conducted “field tests” as part of his

  work on this case and that neither the field tests nor any supporting data were properly disclosed

  to Plaintiffs. Opp. at 25. Google attempts to excuse this clear violation of the Expert Discovery

  Stipulation and Order by claiming that Mr. Ferrante’s “field tests” merely “confirmed ‘what he

  already knew’” and were done for the benefit of younger staff. Id. at 26. This argument is no



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  excuse for the discovery violation and, in any event, is contrary to Mr. Ferrante’s sworn

  testimony stating that “[o]f course” he relied on the field tests as support for his opinion.1 As

  such, Google’s violation of the expert discovery stipulation is an additional reason to exclude his

  opinions on header bidding and Google’s Open Bidding product. See Fed. R. Civ. P. 37(c)(1);

  Disney Enter., Inc. v. Kappos, 923 F. Supp. 2d 788, 791, 795-96 (E.D. Va. 2013).

                                              ARGUMENT

          I.      Mr. Ferrante’s Generalized Observations About Cybersecurity Are Not
                  Linked to Any Procompetitive Justifications for Google’s Anticompetitive
                  Conduct

          Mr. Ferrante’s general opinions concerning “[m]alvertising and digital advertising fraud”

  and Google’s efforts to combat “this rising threat” are unconnected to the specific

  anticompetitive conduct Plaintiffs have alleged and therefore would not be helpful to the

  factfinder in determining whether that conduct is unlawful. Ex. D, Expert Report of Anthony J.

  Ferrante (“Ferrante Rep.”) ¶ 6-7 2. It is not enough to claim that: (a) “security issues” are

  “relevant” to “competition among ad tech providers” generally, Opp. at 1; (b) “[s]ecurity is a

  critical issue for digital advertising,” Id. at 8; or even the blanket assertion that (c) “[i]nternet

  security is a core issue in this case”—which it is not, Id. at 1. Rather, to be relevant for the trier

  of fact, the proffered expert opinion must relate to the anticompetitive conduct alleged in the




  1
    Deposition of Anthony Ferrante (“Ferrante Tr.”), Feb. 16, 2024 at 186:16-25; 188:8-13; 189:10-
  14, ECF No. 589, Ex. B (“Ex. B”) (“Q. But one of the things that you said supported the claim
  that you said in paragraph 75 [regarding data leakage in header bidding] was that you did your
  own independent field test, right? A. Of course.”).
  2
    Excerpts of this report were filed under seal as Exhibit A in Plaintiffs’ opening motion to
  exclude Mr. Ferrante; however, for completeness, Plaintiffs attach Mr. Ferrante’s report in its
  entirety. As such, any references to this report in the opening motion also correspond with
  Exhibit D of this reply and shown in full context.
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  complaint, not to product features that have nothing to do with that anticompetitive conduct.3

  See, e.g., United States v. Microsoft Corp., 253 F.3d 34, 59 (D.C. Cir. 2001) (en banc); Eastman

  Kodak Co. v. Image Tech. Servs., Inc., 504 U.S. 451, 478-9 (1992) (distinguishing between

  Kodak’s proffered generalized procompetitive justifications regarding “innovative marketing

  plans” and “the procompetitive effect of the specific conduct challenged here”). Indeed, Google

  itself admits in passing that, to qualify as a procompetitive justification, any “valid business

  reason or concern for efficiency” must be tethered to “the challenged conduct” itself. Opp. at 8

  (quoting Oksanen v. Page Mem. Hosp., 945 F.2d 696, 710 (4th Cir. 1991)).

         Thus, for example, in determining whether a “product redesign is anticompetitive,”

  “courts look for evidence of exclusionary or anticompetitive effects in order to distinguish

  between conduct that defeats a competitor because of efficiency and consumer satisfaction and

  conduct that impedes competition through means other than competition on the merits.” New

  York ex rel. Schneiderman v. Actavis PLC, 787 F.3d 638, 652 (2d Cir. 2015). In other words, the

  analysis is appropriately targeted at specific forms of conduct, and it does not allow a defendant




  3 Google wrongly claims that Plaintiffs bear the burden of proving “that Google had ‘no valid

  business reason or concern for efficiency’ when engaged in the challenged conduct.” Opp. at 8
  (quoting Oksanen v. Page Mem. Hosp., 945 F.2d 696, 710 (4th Cir. 1991)). That is incorrect.
  Under Section 2 of the Sherman Act, the plaintiff “must demonstrate that the monopolist’s
  conduct indeed has the requisite anticompetitive effect.” United States v. Microsoft Corp., 253
  F.3d 34, 58–59 (D.C. Cir. 2001) (en banc). “[I]f a plaintiff successfully establishes a prima facie
  case under § 2 by demonstrating anticompetitive effect, then the monopolist may proffer a
  ‘procompetitive justification’ for its conduct.” Id. at 59. The burden then “shifts back to the
  plaintiff to rebut that claim” or “demonstrate that the anticompetitive harm of the conduct
  outweighs the procompetitive benefit.” Id.; accord New York ex rel. Schneiderman v. Actavis
  PLC, 787 F.3d 638, 652 (2d Cir. 2015); Mylan Pharm. Inc. v. Warner Chilcott Pub. Ltd. Co., 838
  F.3d 421, 438 (3d Cir. 2016); Viamedia, Inc. v. Comcast Corp., 951 F.3d 429, 463–64 (7th Cir.
  2020). The cases Google cites, Opp. at 8, are inapposite because they stem from cases involving
  unilateral refusals to deal with rivals, but as Plaintiffs explained in their Opposition to Google’s
  Motion for Summary Judgment, the challenged conduct at issue cannot properly be characterized
  as such refusals. Pls.’ Opp. Def.’s Mot. Summ. J. 20–25, ECF No. 669.
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  to point to purported benefits of unchallenged conduct to justify the harm of challenged conduct.

  Yet nowhere in Mr. Ferrante’s report or deposition does he specify how any of his opinions relate

  to the anticompetitive conduct alleged in this case. Indeed, if anything, his deposition revealed

  that Mr. Ferrante knows and understands very little about the digital ad tech industry, much less

  about the allegations raised by Plaintiffs. See Mem. Supp. Mot. to Exclude Anthony Ferrante

  (“Opening Brief”) 6-7, ECF No. 589.

         In its opposition brief, Google attempts to remedy this fundamental defect by positing

  how Mr. Ferrante’s opinions might be relevant to the anticompetitive conduct at issue. However,

  nowhere in Google’s discussion of four of the anticompetitive forms of conduct at issue

  (restriction of Google Ads advertiser demand to AdX, provision of AdX’s real-time bids

  exclusively to DFP, third-party exchange access to AdMeld, and Last Look), Opp. at 12-15, does

  it cite Mr. Ferrante’s opinions. Google’s post hoc attempts to provide a nexus between Mr.

  Ferrante’s opinions and the alleged anticompetitive conduct are unavailing. See Sardis v.

  Overhead Door Corp., 10 F. 4th 268, 281 (4th Cir. 2021) (“[I]f an opinion is not relevant to a

  fact at issue, Daubert requires that it be excluded.”).

                 A. Mr. Ferrante’s Opinions Are Not Relevant as Procompetitive
                    Justifications for Conduct He Never Addresses in His Report.

         Google suggests that “[p]roduct quality through safety and security features is at the

  forefront of the product design decisions that Plaintiffs challenge” and then lists five separate

  pieces of conduct to which Mr. Ferrante’s opinions purportedly relate. Opp. at 12-15. For four of

  those forms of conduct (alleged in the Amended Complaint to be anticompetitive), Google’s brief

  is just a supplement to its summary judgment motion, not a case for admitting Mr. Ferrante’s

  opinions, because it fails to cite any connection between those opinions and the conduct at issue.

  The fifth form of conduct—Google’s introduction of Open Bidding, the only conduct that is

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  actually addressed in Mr. Ferrante’s report—is not alleged by Plaintiffs to be anticompetitive in

  the first place.

          First, Google claims that Mr. Ferrante’s cybersecurity opinions relate to Google’s

  decision to restrict Google Ads’ advertiser demand exclusively to Google’s ad exchange, AdX.

  Id. at 12-13. Google asserts this conduct was necessary to avoid “major security issues” and

  “security risks,” but Google tellingly fails to cite Mr. Ferrante’s opinions (or much else, for that

  matter) to support either of these claims. Id. The reason is simple: Mr. Ferrante’s opinions do not

  address Google’s restriction of Google Ads’ demand, or its use of AWBid, and so his opinions

  cannot be relevant to justify that conduct.

          Second, Google suggests that “[p]roviding comparable AdX access to third-party

  publisher ad servers presents security risks,” id. at 13, but again Google fails to cite Mr.

  Ferrante’s opinions to support that claim. Nor could it, because Mr. Ferrante never addressed

  Google’s practice of restricting third parties’ access to AdX.

          Third, Google similarly claims that its decision to shut down a real-time bidding feature

  of AdMeld’s ad exchange when Google acquired AdMeld was justified by “important security

  issues” and “valid business reasons, such as security concerns.” Id. at 13-14. But, again, Google

  fails to cite Mr. Ferrante’s opinions to support this claim because Mr. Ferrante nowhere

  addressed Google’s acquisition of AdMeld, let alone whatever specific “security concerns”

  purportedly required Google to remove a popular product feature of AdMeld that posed a threat

  to Google’s publisher ad server monopoly.

          Fourth, Google claims that giving itself a “last look” on advertising auctions, rather than

  allowing rival exchanges to bid against Google’s ad exchange in real time would have

  “introduced the concerns described above because header bidding would be bidding alongside



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  AdX bidders.” Id. at 15. Here, again, Mr. Ferrante’s opinions are noticeably absent. Google fails

  to reference any place in his report or deposition where Mr. Ferrante discusses the topic of “last

  look,” much less where he discusses how “last look” would introduce cybersecurity concerns.

         Fifth, the only conduct for which Google actually cites Mr. Ferrante’s report and

  deposition is “Google’s decision not to participate in header bidding and instead develop a

  competing product known as Open Bidding.” Id. at 14. Google claims that Mr. Ferrante’s

  opinions address the entirety of Section IV.D of the Amended Complaint by “help[ing] the fact

  finder understand the security risks posed by header bidding as well as the security benefits of

  Google’s Open Bidding.” Id. 16–17. However, Plaintiffs do not allege that Google should have

  participated in header bidding or that Google should not have developed Open Bidding. Nor do

  Plaintiffs allege that either decision was inherently anticompetitive. Instead, the Amended

  Complaint explains that header bidding was the industry’s response to Google’s anticompetitive

  practices and then outlines specific conduct Google employed to thwart that response. See Am.

  Compl. § IV.D. Mr. Ferrante’s header bidding and Open Bidding opinions thus have no bearing

  on those allegations. See In re Broiler Chicken Grower Antitrust Litig., 2024 WL 2194349, at

  *14 (E.D. Okla. May 15, 2024) (excluding an expert’s opinion because the opinion related to

  unchallenged conduct); Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579, 591 (1993)

  (“Expert testimony which does not relate to any issue in the case is not relevant and, ergo, non-

  helpful.” (citation omitted)); ePlus, Inc. v. Lawson Software, Inc., 764 F. Supp. 2d 807, 813–14

  (E.D. Va. 2011) (expert’s opinions concerning patent royalty rates were irrelevant because they

  were predicated on irrelevant settlement license agreements); Atl. Coast Pipeline, LLC v. 0.07

  Acre, More or Less, in Nelson Cty., Va., 396 F. Supp. 3d 628, 640–42 (W.D. Va. 2019) (excluding




                                                   7
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  expert’s opinions regarding a pipeline’s impact on a property’s value because they were not

  specific to that property).

          To demonstrate the procompetitive nature of Google’s security practices would at a

  minimum require Mr. Ferrante to compare Google to its competitors, but he failed to perform

  any such inquiry. See, e.g., Ex. B, Ferrante Tr. at 121:24-123:3 (did not compare how Google’s

  rate of blocked or restricted ads compared to its ad tech rivals), 125:5-125:19 (did not compare

  Google’s data to other companies), 119:5-121:23 (unable to recall any documents he reviewed

  comparing Google’s ad block rates to its competitors), 130:14-133 (could not compare Google’s

  ability to block inappropriate ads to other competitors), 134:1-137:25 (unable to say how Google

  compares to competitors regarding screening of adult content). As Google concedes in its brief,

  Mr. Ferrante is “not offering a direct comparison of the security of Google’s products with that of

  others.” Opp. at 16-17.

          Ultimately, Mr. Ferrante’s opinions are wholly unconnected to the alleged anticompetitive

  conduct except by virtue of ipse dixit, not even of Mr. Ferrante, but of Google’s counsel. Courts

  routinely reject such arguments. See Gramercy Holdings I, LLC v. Matec S.R.L., 2023 WL

  5917624, at *13 (S.D.N.Y. Sept. 11, 2023) (“[A]s with the ipse dixit of the expert, a district court

  is not required ‘to admit opinion evidence that is connected to existing data only by the ipse dixit’

  of counsel’.” (citation omitted)); DeWolff, Boberg & Assocs., Inc. v. Pethick, 2024 WL 1396267,

  at *10 (N.D. Tex. Mar. 31, 2024) (rejecting counsel’s attempts “to fill the gaps in [the expert’s]

  testimony based on argument unsupported by his report”); Sardis, 10 F. 4th at 288 (rejecting




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  counsel’s attempt to connect expert’s opinion based on an irrelevant standard to the correct

  standard).4

                 B. Plaintiffs Do Not Allege that Ad Tech Stack Integration Is Necessarily
                    Anticompetitive, and Mr. Ferrante Never Opines on the Subject.

         Without reference to any opinion expressed by Mr. Ferrante, Google also argues that

  “[a]d tech providers such as Google who own multiple products in the ad tech stack can deliver

  more secure and higher-quality services and products” because of the “procompetitive incentives

  generated by [such] integration.” Opp. at 11. This is a red herring. Plaintiffs do not challenge the

  independent legality of Google’s ownership of “multiple products in the ad tech stack” or any

  changes Google made to its products to compete on the merits. Indeed, Mr. Ferrante does not

  offer any opinion on the cybersecurity impact of an integrated ad tech stack, so any purported

  benefits of such integration are no basis to admit his opinions in any event.

         Google also cites Mr. Ferrante’s testimony to support the strawman that “Plaintiffs’

  theory as to why certain conduct is anti-competitive rests on Google’s decision not to establish

  innumerable technical connections to countless exchanges and servers.” Id. at 11-12. As

  explained in Plaintiffs’ Opposition to Google’s Motion for Summary Judgment, Plaintiffs’

  experts cited by Google do not opine that Google’s products should have interoperated with their

  rivals, but rather, noting that the alleged “innumerable technical connections” were often already

  in place, offered interoperability at most as less-restrictive alternatives to Google’s alleged



  4 See also Hoffman v. Ford Motor Co., 493 F. App’x 962, 979 (10th Cir. 2012) (rejecting

  “argument” linking expert’s opinions to the allegedly defective product as “the ‘ipse dixit’ of
  [plaintiff’s] counsel”); Davis v. Duran, 277 F.R.D. 362, 370 (N.D. Ill. June 10, 2011) (rejecting
  counsel’s arguments that “merely substitutes the ipse dixit of counsel for the ipse dixit of the
  expert”); Jones v. Anderson, 2018 WL 2717221, at *10 (S.D. Ga. June 6, 2018) (“The ipse dixit
  of the lawyer is no better than the ipse dixit of the expert in establishing the foundation for
  admissibility of expert testimony.”).

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   anticompetitive conduct. Pls.’ Opp. Def.’s Mot. Summ. J., Resp. to Def.’s “Statement of

   Undisputed Facts” ¶¶ 42-43, 49, 65, 84. Mr. Ferrante, however, does not connect his generalized

   opinions to any of those alternatives.

                  C. Mr. Ferrante’s Vague and Unverified Characterizations of Google as a
                     Leader in Cybersecurity Are Irrelevant.

          Opining at a higher level of generality does not alter the relevance of Mr. Ferrante’s

   opinions. Google vaguely invokes the “importance of security, privacy, and fraud issues to this

   case,” and it claims that Mr. Ferrante’s opinions “will be helpful to the fact finder’s evaluation of

   the security concerns influencing Google’s product design and business decisions.” 5 Opp. at 15.

   But, as explained above, Mr. Ferrante does not offer any opinions about Google’s conduct

   (whether or not characterized as “product design and business decisions”) that Plaintiffs allege

   was unlawful. At bottom, Google is improperly attempting to use Mr. Ferrante’s generic

   cybersecurity opinions as a smokescreen for its argument that, because security concerns

   sometimes exist in digital advertising, all of Google’s conduct harming competition in digital ad

   tech is justified on the basis of such concerns. For example, Mr. Ferrante's opinions about

   “organized crime’s role in proliferating digital advertising fraud and malvertising,” Id. at 15,

   cannot possibly justify a course of conduct that Mr. Ferrante does not connect to such general

   concerns.

          Likewise, Mr. Ferrante’s self-serving and unverified description of Google as a “leader”

   on security issues would not assist the trier of fact because that purported “leadership” is

   unconnected to (and thus no justification for) the conduct Plaintiffs allege violated the Sherman



   5 Google claims Mr. Ferrante’s opinions are needed to educate the “jury,” Opp. at 15, which is

   curious given that Google’s brief was filed one day after Google filed a motion to strike
   Plaintiffs’ jury demand on grounds of, among other things, mootness. Def.’s Mem. Supp. Mot to
   Dismiss United States’ Damages Claims as Moot and to Strike Jury Demand, ECF No. 630.
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   Act. For example, Mr. Ferrante cites “ads.txt” as one such instance of Google’s leadership. Opp.

   at 16. Yet ads.txt was not solely attributable to Google; it was an industry-wide effort involving

   multiple other industry participants. Ex. D, Ferrante Rep. ¶ 50; Ex. E, Expert Report of Dr.

   Wenke Lee (“W. Lee Rep.”) ¶ 84. 6 In any event, Google’s purported leadership in adopting that

   standard cannot justify Google’s anticompetitive conduct because it was unconnected to that

   conduct. “True or not, these opinions have no bearing on the claims and defenses in this case[,]”

   and the Court should exclude them. Broiler Chicken, 2024 WL 2194349, at *14; see also Orbital

   Eng’g, Inc. v. Buchko, 578 F. Supp. 3d 736, 743 (W.D. Pa. 2022) (excluding in part cybersecurity

   expert’s opinions that were not “based on the specific facts of [the] case”); Fair Fight Action,

   Inc. v. Raffensperger, 2020 WL 13561792, at *6 (N.D. Ga. Dec. 8, 2020) (excluding election

   cybersecurity expert because his opinions related “mostly to a new voting system that [was] not

   challenged or directly at issue” and failed to “connect how [his opinions] relate[d] to the claims

   in the lawsuit”).

          Courts have rejected generalized expert testimony, similar to that of Mr. Ferrante’s, when

   they have “no bearing on the claims and defenses” of a case. Broiler Chicken, 2024 WL

   2194349, at *14. In re: Broiler Chicken is especially instructive. There, the plaintiffs alleged,

   among other things, that certain poultry companies engaged in a conspiracy to suppress the pay

   of broiler chicken growers through an information exchange. Id. at *1. A defendant retained “an

   industry expert” to opine, in part, “about efficiencies flowing from exchanges of information.”

   Id. at *1, *12. Although the expert opined generally about such efficiencies, he could not




   6 As Dr. Wenke Lee noted, “[Ads.txt] files are open for use by all parties in the digital advertising

   ecosystem” but it is just one standard among many “widely used on the Internet including most
   HTTPS websites [and] Mr. Ferrante has [] failed to take these considerations into account.” Ex.
   E, W. Lee Rep. ¶¶ 84, 69-70.
                                                    11
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   “identify any efficiencies tied to the exchanges” of the pay information at issue. Id. at *12. The

   court held that the industry expert’s “opinions about efficiencies resulting from exchanges of

   information unrelated to Grower pay are irrelevant and inadmissible” because “Plaintiffs do not

   challenge information sharing broadly.” Id. at *14. The same is true here. Mr. Ferrante opines

   generally about security threats that may affect digital advertising and ways to address them, but

   Plaintiffs do not challenge the conduct Mr. Ferrante endorses.

          The cases Google cites show precisely why Mr. Ferrante’s opinions should be excluded:

   in each of those cases, the expert opinions offered were related directly to the claims and

   defenses alleged. Opp. at 9, 15–16. For example, in In re Dealer Management Systems Antitrust

   Litigation, plaintiff “third-party data integrators” alleged that the defendants were selectively

   blocking them from accessing car-dealer data. 581 F. Supp. 3d 1029, 1042–43 (N.D. Ill. 2022).

   The defendant had proffered procompetitive justifications for “securing its [data management

   systems] against unauthorized access by third-party data integrators that were unrelated to

   reducing competition.” Id. at 1068. The defendant’s cybersecurity expert’s opinions, which

   supported those procompetitive justifications for the specific conduct of blocking data access to

   the third-party data integrators, were therefore relevant. Id. at 1084–85. 7 Google finds no support

   in such cases because Mr. Ferrante has not attempted to connect his generic cybersecurity



   7 See also United States v. Gasperini, 2017 WL 3140366, at *1-2 (E.D.N.Y. July 21, 2017)

   (cybersecurity expert’s testimony that was “sometimes tenuous” was nonetheless allowed
   because it was “limit[ed] to the actual capabilities of the botnet at issue”); E. Claiborne Robins
   Co., Inc. v. Teva Pharm. Indus., Ltd., 2022 WL 3710758, at *1, 3-4 (E.D. Va. Feb. 23, 2022)
   (refusing to allow expert’s industry-based interpretation of contract provision but allowing the
   expert to opine on an issue directly related to the claim alleged); United States v. Tejeda-Ramirez,
   259 F. App’x 535, 537 (4th Cir. 2007) (police officer allowed to provide expert testimony on the
   “methods and techniques of drug trafficking” in a drug-trafficking case); Sines v. Kessler, 2021
   WL 1431296, at *1, 5, 7-8 (W.D. Va. Apr. 15, 2021) (expert permitted to testify on “white
   supremacist groups’ strategy of utilizing ‘double-speak’” because the testimony would assist the
   jury in understanding the language used to plan and perpetrate the alleged conspiracy at issue).
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   opinions to the conduct at issue, though the proffered purpose for his opinions is to justify such

   conduct.

                  D. Mr. Ferrante’s Description of Google’s “Collaboration with Law
                     Enforcement to Take Down Criminals” Is Irrelevant.

          Perhaps the most self-serving and irrelevant of Mr. Ferrante’s opinions is his description

   of Google’s role in “the takedown of 3ve,” see Ex. D, Ferrante Rep. ¶¶ 8, 53-65, an organized ad-

   fraud scheme. By Mr. Ferrante’s own admission, Google’s products were equally as vulnerable

   as those of other industry participants to the malicious conduct from 3ve, and Google was one of

   many industry participants that cooperated with this investigation. See Ex. B, Ferrante Tr. at

   259:7-18. In addition to being irrelevant, Mr. Ferrante’s opinions on “the takedown of 3ve” as

   well as all his other irrelevant opinions concerning Google’s general actions to “face [the] rising

   threat” of ad fraud, Ex. D, Ferrante Rep. ¶¶ 8, 17–65, should be excluded as improper character

   evidence. Google seeks to offer Mr. Ferrante’s opinions to establish that Google generally has a

   good character for security and privacy and to suggest that Google was acting in conformity with

   that good character, and not to harm competition, when it engaged in the conduct Plaintiffs

   challenge. But that is clearly improper. See Fed. R. Evid. 404(a)(1); id. advisory committee’s

   note to 2006 amendments (“[I]n a civil case evidence of a person’s character is never admissible

   to prove that the person acted in conformity with the character trait.”); see also Feighan v. Res.

   Sys. Grp., Inc., 2023 WL 4623123, at *9 (D.D.C. July 19, 2023) (“Rule 404 is regularly applied

   to corporations.”) (collecting cases). Accordingly, the Court should exclude Mr. Ferrante’s

   opinions concerning Google’s actions unrelated to this case as an improper attempt to circumvent

   the prohibition in Rule 404(a).




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           II.     Mr. Ferrante Fails to Reliably Tether His Opinions to His Experience

           Mr. Ferrante’s opinions are also inadmissible because his generalized “experience in

   Internet security,” Opp. at 18, does not offer a reliable basis for the specific opinions he seeks to

   offer in this case. It is a foundational premise of Daubert and Federal Rule of Evidence 702 that

   experience alone is insufficient to offer expert opinions unless that experience is tethered in a

   reliable way to the opinions offered. Experts can only offer opinions into evidence if they are

   “the product of reliable principles and methods.” Fed. R. Evid. 702. Merely having experience is

   not a principle or method. In order for opinions grounded in an expert’s “experience” to be

   admissible, courts require “an experiential witness to explain [1] how his experience leads to the

   conclusion reached, [2] why his experience is a sufficient basis for the opinion, and [3] how his

   experience is reliably applied to the facts.” Wilson, 484 F.3d at 274 (cleaned up). This kind of

   scrutiny is needed to prevent experiential experts from testifying with no more basis for their

   opinions than their own ipse dixit. See Wendler & Ezra, P.C. v. Am. Int’l Grp., Inc., 521 F.3d 790,

   791–92 (7th Cir. 2008) (“An expert who supplies nothing but a bottom line supplies nothing of

   value to the judicial process.”) (citation omitted).

           Google asserts that “Mr. Ferrante Explained How His Experience in Internet Security

   Informed His Opinions,” but it offers little to support that top-line claim. Opp. at 18. Mr.

   Ferrante failed to explain how or why his experience reliably supports the four opinions he offers

   in this case, and Google’s brief presents only post hoc rationalizations about how—at the highest

   level of generality—Mr. Ferrante’s actual experience might have informed his opinions.8



   8 Google argues that Mr. Ferrante’s opinions should not be excluded solely because he is not an

   expert in digital advertising, and he could not identify the relevant technologies or industry
   players. See Opp. at 21. It is true that digital advertising expertise per se is not required to offer
   relevant opinions in this case. But an expert relying on experience as the basis for his or her


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          First, Mr. Ferrante fails to bridge the gap between the opinions he offers about the current

   state of the world and the vintage of his limited experience relating to cybersecurity issues in

   digital advertising. He opines that “[m]alvertising and digital advertising fraud are now a

   persistent and pernicious form of organized crime” and “present a substantial threat to global

   Internet users.” Ex. D, Ferrante Rep. ¶ 8 (emphasis added). But his only experience involving

   digital advertising (and even then, only in a support role) ended in 2011. See Ex. B, Ferrante Tr.

   at 26:1-30:5; Ex. D, Ferrante Rep. ¶ 17. Even assuming that Mr. Ferrante’s limited exposure to

   ad fraud could have reliably informed an opinion relevant to this case, it is well over a decade

   old, in a dynamic technology industry marked by constant change. It is not a reliable basis for an

   opinion about how “persistent” and “substantial” ad fraud and organized crime “are now.”

          Second, Mr. Ferrante seeks to opine that Google “stood out as an early industry leader” in

   combatting ad fraud. Ex. D, Ferrante Rep. ¶ 8. Google’s brief attempts to backfill linkages

   between Mr. Ferrante’s experience and Google’s purported status as an “early industry leader,”

   see Opp. at 19, falls short because all of Mr. Ferrante’s knowledge in support of this opinion

   comes from reading public sources—not personal experience. For example, Mr. Ferrante opines

   Google was an industry leader because of its role in the “takedown” of 3ve, an organized ad-

   fraud scheme. Id. But Mr. Ferrante had no personal experience or involvement in the “takedown”

   of 3ve, and his opinions derive exclusively from public reporting and a whitepaper co-written by

   Google. See Ex. B, Ferrante Tr. at 33:10-19; 35:11-24; 255:16-19; 262:16-263:3. Mr. Ferrante

   also points to Google’s role in the development of the ads.txt standard, but Mr. Ferrante does not

   claim any firsthand experience of ads.txt’s development or adoption. Finally, Mr. Ferrante




   opinions would still need to explain how and why his or her experience was reliably applied to
   the facts. See Wilson, 484 F.3d at 274. Mr. Ferrante has failed to do so.
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   identifies Google’s development of Open Bidding, but once more he fails to identify any

   experience with Open Bidding that allows him to conclude that Google “stood out as an early

   industry leader.” Accordingly, his opinions about “industry leadership” are indistinguishable

   from lawyer arguments in summation; they are not expert opinions admissible under Rule 702.

          Finally, Mr. Ferrante fails to explain how his experience supports his opinions that header

   bidding created “opportunities for malicious actors” whereas Google’s Open Bidding auction

   platform “enable[d] Google to bolster security.” Ex. D, Ferrante Rep. ¶ 8. Once more, Mr.

   Ferrante describes no personal experience with either header bidding or Open Bidding prior to

   his engagement on this case. See Ex. B, Ferrante Tr. at 213:13-14 (“And so it’s very easy to – to

   read about [header bidding] and to understand it as a technology expert.”). Google points to his

   purported familiarity with “clear text communication” being “susceptible to eavesdropping.”

   Opp. at 20 (quoting Ex. B, Ferrante Tr. at 218:16-219:1). Not only does Mr. Ferrante fail to

   identify what experience informed his view about clear text communication (or why), but he also

   fails to explain what experience allowed him to reliably go the additional step of opining about

   header bidding and Open Bidding. See Wilson. 484 F.3d at 274. This is a classic example of a

   party asking the Court to “tak[e] the expert’s word for it.” Sardis, 10 F.4th at 290 (quoting Fed.

   R. Evid. 702 advisory committee’s note to 2000 amendments).

          Google attempts to compensate for Mr. Ferrante’s failure to explain how his experience

   reliably supports his opinions by claiming that other experts and industry participants agree or

   hold similar opinions. 9 See Opp. at 20-21, 23-24. But the fact that other potential witnesses


   9
    Google invokes Plaintiffs’ expert, Prof. Wenke Lee, see Opp. at 23, but Prof. Lee did not agree
   with Mr. Ferrante’s opinion that Google “stood out as an early industry leader.” To the contrary,
   Prof. Lee explains that ads.txt is one of only multiple similar industry-wide files, see W. Lee
   Rep. ¶ 69 n.46, and ads.txt and similar files “are open, available, and encouraged to be utilized
   by independent parties to increase ecosystem cybersecurity.” Id. ¶¶ 69-70.

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   might agree with Mr. Ferrante on some issues does not demonstrate the reliability of his

   opinions. The Rule 702 inquiry focuses not on “the ultimate correctness of the expert’s

   conclusions,” but rather on “the soundness and care with which the expert arrived at [his]

   opinion.” Schultz v. Akzo Nobel Paints, LLC, 721 F.3d 426, 431 (7th Cir. 2013). Because Mr.

   Ferrante has failed to explain how his experience has been reliably applied, his opinions should

   be excluded.

          III.    Mr. Ferrante Relied on Undisclosed “Field Testing” to Support His Opinions
                  About Header Bidding and Open Bidding

          “Rule 37(c)(1) provides an automatic preclusion sanction” when a party fails to

   adequately disclose expert opinions or information, so long as the “failure to disclose was not

   substantially justified” or “harmless.” Rambus, Inc. v. Infineon Tech. AG, 145 F. Supp. 2d 721,

   724 (E.D. Va. 2001). Google does not contest that Mr. Ferrante conducted undisclosed field tests

   in which he “looked at code” and “looked at [] data” from websites to compare the purported

   security risks of header bidding and Google’s Open Bidding service. Ex. B, Ferrante Tr. at

   183:17-25; Opp. at 25. Nor does Google argue that his failure to timely disclose those tests or the

   materials underlying them was substantially justified or harmless. Plaintiffs were prejudiced by

   Mr. Ferrante’s untimely disclosure of these field tests at his deposition, which left Plaintiffs

   unable to fully examine him or replicate and explore the field tests with their own experts.

          Google’s only defense is to assert that Mr. Ferrante “did not rely on these so-called ‘field

   tests’ in forming his opinion” because “[t]he ‘field test’ simply confirmed what he already knew.”

   Opp. at 25-26 (emphasis added). But Mr. Ferrante never disclaimed reliance on these field tests,

   and the deposition testimony Google cites does not say otherwise. See id. (quoting Ex. B,

   Ferrante Tr. at 239:13-240:8). On the contrary, Mr. Ferrante testified that his field test contributed

   to his opinions about “data leakage” in header bidding, contained in Paragraph 75 of his report:


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           Q. But one of the things that you said supported the claim that you said in
           paragraph 75 was that you did your own independent field rest, right?

           A. Of course.

   Ex. B, Ferrante Tr. at 189:10-14 (emphasis added). He also used field tests to examine Open

   Bidding. See, e.g., id. at 236:3-5; 238:8-239:1. Mr. Ferrante testified that the field test results are

   incorporated in his report, id. at 188:8-13, 190:13-18, but his report discloses no facts about how

   he conducted those tests.

           Mr. Ferrante also testified that his field tests played a significant role in how he

   formulated his opinions. For example, he explained that he “didn’t need to review any statistical

   data” to support his opinions about “data leakage” in header bidding “[b]ecause I field tested it

   and saw it.” Id. at 183:11-14. He also testified that his field tests served to “verify” and

   “validate” information about header bidding. Id. at 188:8-13. Indeed, Mr. Ferrante viewed field

   testing as so important to verifying his opinions that he suggested he might not even have signed

   his report without having conducted field tests. See id. at 189:21-24.

          Because Mr. Ferrante relied on field tests in forming his opinions, Google’s unexcused

   and prejudicial failure to timely disclose the field tests triggers Rule 37(c)(1)’s automatic

   preclusion sanction and bars Mr. Ferrante from testifying at trial about header bidding or Open

   Bidding. See Rambus, 145 F. Supp.2d at 724; Disney, 923 F.Supp.2d at 796.

                                              CONCLUSION

          Google fails to establish that Mr. Ferrante’s opinions are sufficiently relevant and reliable,

   and therefore they should be excluded in their entirety. Moreover, Google’s unjustified and

   prejudicial failure to timely disclose purported “field tests” underlying Mr. Ferrante’s opinions

   about header bidding and Open Bidding is an independent reason to exclude those opinions.




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   Dated: May 31, 2024


   Respectfully submitted,

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